                IN rHE LTNITED srArES DISrzucr couRl-
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            FOR TI#, WESTERN DISTRICT OF NORTH CAROLINA                     ^      i5EDE,nti3'^r.'
                         ASHEVILLE DIVISION                                         ocT 2 I 20n
                                                                                 U.S. DISTRICT COURT
                                                                                 W. DISTRICT OF N.C.
                            DOCKET NO. 1 :20-CR-00082

T]NITED STATES OF AMERICA
                                                   CONSENT ORDER AND
              V.                                 JUDGMENT OF FORFEITURE

BRYCE ALAN HONEA


      WHEREAS, the defendant, BRYCE ALAN HONEA, has entered into a plea
agreement (incorporated by reference herein) with the United States and has
voluntarily pleaded guilty pursuant to Fed. R. Crim. P. 11 to one or more criminal
offenses under which forfeiture may be ordered;

       WHEREAS, the defendant and the United States stipulate and agree that the
property described below constitutes property derived from or traceable to proceeds
of the defendant's offense(s) herein; property involved in the offenses, or any
property traceable to such property; and/or property used in any manner to facilitate
the commission of such offense(s); or substitute property as defined by 2l U.S.C. $
853(p) and Fed. R. Crim. P.32.2(e); and is therefore subject to forfeiture pursuant
to 18 U.S.C. 5 2253, provided, however, that such forfeiture is subject to any and all
third party claims and interests, pending final adjudication herein; the defendant
waives his interest,if any, in the property and agrees to the forfeiture of such interest;

      WHEREAS, the defendant herein waives the requirements of Fed. R. Crim.
P.32.2 regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

       WHEREAS, pursuant to Fed. R. crim. p.32.2(b)(1) & (c)(2),the Court finds
that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty and that the defendant has a legal or possessory interest
in the property;




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       WHEREAS, the defendant withdraws any claim previously submitted in
response to an administrative forfeiture or civil forfeiture proceeding concerning any
of the property described below. If the defendant has not previously submitted such
a claim, the defendant hereby waives all right to do so. If any administrative
forfeiture or civil forfeiture proceeding concerning any of the property described
below has previously been stayed, the defendant hereby consents to a lifting of the
stay and consents to forfeiture;

       WHEREAS, the undersigned llnited States Magistrate Judge is authorizedto
enter this Order by the previous Order of this Court No. 3:05MC302-C (September
8,2005);

     NOW, TFIEREFORE, IT IS FIEREBY ORDERED THAT the following
property is forfeited to the United States:

           o   Samsung Galaxy A10e cellular phone, serial number
               RFSN32CLENJ;
           o   Alcatel One Touch cellular phone, IMIE 014262002126316;
           o   Hewlett Packard PP6243W desktop computer, serial number
               CNX93410KZ; and
           o   Samsung J3 Luna Pro cellular phone, IMSI 311480436501036.

      The United States Marshal andlor other property custodian for           the
investigative agency is authorized to take possession and maintain custody of the
above-described tangible property.

      If and to the extent required by Fed. R. Crim. P. 32.2(b)(6),21 U.S.C. $
853(n), and/or other applicable law, the United States shall publish notice and
provide direct written notice of this forfeiture.

      Any person, other than the defendant, asserting any legal interest in the
property              thirty days of the publication of notice or the receipt of notice,
          ^iy,within
whichever is earlier, petition the court for a hearing to adjudicate the validity of the
alleged interest.




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          Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this Order of Forfeiture,
    the United States Attorney's Office is authorizedto conduct any discovery needed
    to identi$, locate or dispose of the property, including depositions, interrogatories,
    requests for production of documents and to issue subpoenas, pursuant to Fed. R.
    Civ. P.45.

           Following the Court's disposition of all timely petitions filed, a final order of
    forfeiture shall be entered, as provided by Fed. R. Crim. P. 32.2(cX2). If no third
    party files a timely petition, this order shall become the final order and judgment of
    forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United States shall
    have clear title to the property and shall dispose of the properly according to law.
    Pursuant to Fed. R. Crim. P.32.2(b)(4)(A), the defendant consents that this order
    shall be final as to defendant upon filing.

    SO AGREED:




v   BENJAMIN BAIN-CREED
    Assistant United States Attomey


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                 AN HONEA




          IDYIVSTSON
    Attorney for Defendant                                                  d
                                                  Signed: e { L        2/   ,2020



                                                                  METCALF
                                               United St       Magistrate Judge
                                               Western     istrict of North Carolina

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